Case 1:18-cr-10307-MLW Document 75 Filed 11/08/19 Page 1 of 3

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA,

vs Cr. No. 18-cr-10307-MLW

DAREN DEJONG,
Defendant.

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MEMORANDUM AND ORDER

WOLF, D.d. November 8, 2019

On April 29, 2019, the court ordered the unsealing of
defendant Daren DeJong's sentencing memorandum with limited
redactions. See Docket No. 53. As the court explained concerning

the redactions:

In Exhibit 1 the court has redacted information
that is not necessary for it to evaluate defendant's
cooperation, but might identify unindicted individuals
defendant discussed in his proffer. The redactions are
intended to protect the reputations of individuals who
have not been charged and will not have an opportunity
to attempt to refute defendant's statements to the
Attorney General's Office at his sentencing. If, after
providing public notice in this Memorandum, the court
receives a motion to unseal the information in Exhibit
1 that is redacted, the court will consider the issue de

novo.
Docket No. 53 at 4-5 n.1l.

The Boston Globe subsequently moved to intervene to request
unsealing of the redacted information relating to defendant's
proffer. See Docket No. 70 (the "Motion"). The government and the

defendant each state they do not oppose the Motion. See Docket

Nos. 73 and 74.
Case 1:18-cr-10307-MLW Document 75 Filed 11/08/19 Page 2 of 3

The court has nevertheless considered de novo whether the
redactions it made in defendant's sentencing memorandum concerning
his proffer should be unsealed. It now finds the Motion is
meritorious.

As the court has previously explained, there is a common law
presumption of public access to information on which judicial
decisions are made that can only be outweighed by compelling
countervailing considerations. See Docket No. 51 (discussing

United States v. Kravetz, 706 F.3d 47, 56-57 (1st Cir. 2013)). The

 

redacted information concerning the defendant's proffer identifies
the ranks held by individuals defendant was discussing, but does
not include their names.

Many members of the Massachusetts State Police are likely to
hold the referenced ranks. There is some risk that unsealing could
nevertheless result in identifying the referenced individuals.
However, neither that risk nor the possible harm to their
reputations justifies continued sealing, in part because the court
now expects that it will be necessary to discuss the ranks of the
referenced individuals in court at defendant's resumed sentencing
hearing. Cf. Kravetz, 706 F.3d at 63 ("prior publicity weighs
strongly against sealing" (quoting Globe Newspaper Co. v. Pokaski,
868 F.2d 497, 506 n.17 (lst Cir. 1989))). Accord Ark. Teacher Ret.

Sys. v. State Street Bank & Tr. Co., 391 F. Supp. 3d 167, 169 (D.
Case 1:18-cr-10307-MLW Document 75 Filed 11/08/19 Page 3 of 3

Mass. 2018); United States v. Salemme, 978 F. Supp. 364, 373-374
(D. Mass. 1997). See Docket Nos. 51 and 53.

Accordingly, it is hereby ORDERED that:

1. The Motion (Docket No. 70) is ALLOWED.

2. Except for the information on page 17 relating to
defendant's wife's medical condition, which The Boston Globe does

not request be unsealed, Docket No. 53-1 is UNSEALED and attached

hereto.

   
    

UNITED STATES DISTRICT JUDG

 
